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 Attorney for the Plaintiffs, proposed FLSA Collective and
 potential Rule 23 Class

 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ------------------------------------------------------------------ x
 WING KAM LI,
 on his own behalf and on behalf of others similarly
 situated,
                                              Plaintiff,                Case No. 18-cv-04614
                               v.                                       REQUEST FOR
 KINGLY COACH, INC. d/b/a Kingly Coach; and                             CERTIFICATE OF DEFAULT
 BWJ GROUP INC.;
 SUNG AE KIM,
 ANDY MENG, and
 DAE KUN YI

                                              Defendants.
 ------------------------------------------------------------------ x

        On August 15, 2018, Plaintiffs initiated this case by filing their Complaint. The Summons
to the Complaint against KINGLY COACH, INC. d/b/a Kingly Coach; and BWJ GROUP INC.;
were issued on August 15, 2918.

        Corporate Defendants KINGLY COACH, INC. d/b/a Kingly Coach; and BWJ GROUP
INC were properly served the Summons to the Complaint with Complaint pursuant to Rule
4(h)(1)(B) of the Federal Rules of Civil Procedure on October 10, 2018, and the proof of service
was submitted to the Court on Ocotber 12, 2018. (Dkt. Nos. 09–10). The time for Corporate
Defendants KINGLY COACH, INC. d/b/a Kingly Coach; and BWJ GROUP INC, to answer or
otherwise move with respect to the Complaint expired on November 10, 2018.

        Therefore, we request a Certificate of Default. Please enter the default of Corporate
Defendant KINGLY COACH, INC. d/b/a Kingly Coach; and BWJ GROUP INC pursuant to
Rule 55(a) of the Federal Rules of Civil Procedure for failure to plead or otherwise defend this
action as fully appears from the court file herein and from the attached affirmation of John Troy,
Esq.

Dated: July 15, 2019
       Flushing, New York
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                                      Respectfully submitted,
                                      TROY LAW, PLLC
                                      Attorneys for Plaintiffs



                                       /s/ John Troy
                                      John Troy (JT0481)
